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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

KAREN COCHENOUR, individually and on            )
behalf of others similarly situated,            )
                                                )
       Plaintiff,                               )
                                                )   Civil Action No. 1:25-CV-00007-RP
v.                                              )
                                                )
360TRAINING.COM, INC., D/B/A                    )
MORTGAGE EDUCATORS AND                          )
COMPLIANCE, INC.,                               )
                                                )
       Defendant.                               )

                      NOTICE OF CONSTITUTIONAL QUESTION

To:    Pamela Bondi
       Attorney General for the United States
       U.S. Department of Justice
       950 Pennsylvania Avenue, NW
       Washington, DC 20530-0001

       PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 5.1(a)(1)(A), that Defendant

360training.com, Inc., d/b/a Mortgage Educators and Compliance’s Motion to Dismiss Plaintiff’s

Class Action Complaint questions the constitutionality of the federal Video Privacy Protection

Act, 18 U.S.C. § 2710. Specifically, Defendant argues that the VPPA is an unconstitutional

restraint on speech in violation of the First Amendment of the United States Constitution. A copy

of Defendant’s Motion to Dismiss and this Notice of Constitutional Question will be served upon

the United States Attorney General.
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Dated: March 5, 2025                  Respectfully submitted,

                                      /s/ Rachel Palmer Hooper
                                      Rachel Palmer Hooper
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                                      Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was electronically

filed on March 5, 2025 with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all attorneys of record. I further certify that

a true and correct copy of the foregoing document was served via certified mail on the following:

         Pamela Bondi
         Attorney General for the United States
         U.S. Department of Justice
         950 Pennsylvania Avenue, NW
         Washington, DC 20530-0001




                                               /s/ Rachel Palmer Hooper




4935-4811-3181.1
